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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION -- PIKEVILLE

  JOSE CRISTOBAL CARDONA,                                      CIVIL NO. 7:16-69-KKC
        Plaintiff,

  v.                                                          OPINION AND ORDER

  UNITED STATES OF AMERICA,
        Defendant.



        Plaintiff Jose Cristobal Cardona has filed a motion for leave to appeal without paying

 the filing fee. (DE 126.) He has filed a notice of appeal seeking review of this Court’s July 6,

 2020 order that denied his motion for reconsideration of the Court’s adoption of the

 magistrate judge’s Recommended Disposition. (DE 123.) The Court hereby ORDERS that

 the motion is DENIED.

        A party moving to appeal in forma pauperis must attach to his motion an affidavit

 that: 1) shows in the detail prescribed by Form 4 of the Appendix of Forms to the Federal

 Rules of Appellate Procedure the individual's inability to pay or give security for fees and

 costs; 2) claims an entitlement to redress; and 2) states the issues the party intends to present

 on appeal. Fed. R. App. 24(a)(1).

        Cardona has not filed the required affidavit. Further, the Court cannot grant pauper

 status if it finds the appeal is not taken in good faith. 28 U.S.C.A. § 1915(a)(3). Cardona has

 set forth no issue he intends to present on appeal. Accordingly, the Court finds that the

 appeal is not taken in good faith. The motion must be DENIED.


        Dated November 09, 2020
